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11

12                       UNITED STATES BANKRUPTCY COURT
13                        CENTRAL DISTRICT OF CALIFORNIA
14                                LOS ANGELES DIVISION
15    In re:                                       ) Case No. 2:17-bk-19548-NB
                                                   )
16    LAYFIELD & BARRETT, APC,                     ) Chapter 11
17                                                 )
                            Debtor.                )OBJECTION TO TRUSTEE'S
18                                                 )MOTION TO SURCHARGE
                                                   )CREDITOR'S COLLATERAL;
19                                                 )DECLARATION OF
                                                   )ROGER G. JONES IN SUPPORT
20
                                                   THEREOF
21                                                 )
                                                   )
22                                                 )

23

24
               Comes now Wellgen Standard, LLC ("Wellgen"), successor in interest to
25
     Advocate Capital, Inc. ("Advocate"), by and through its counsel, and, hereby objects to
26
     the motion of Richard M. Pachulski (the "Trustee") to surcharge Wellgen's collateral (the
27

28   "Trustee's Motion"). Wellgen would show the Court as follows:
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13              Collateral. ............................................................................................................11 
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 1                                   I.      BACKGROUND
 2          Layfield & Barrett, APC (“L&B”) is a California for-profit corporation, which
 3
     was formed on November 1, 2010. At formation, L&B was known as Layfield Law Firm,
 4
     APC. L&B later changed its name to Layfield & Wallace, APC and then to Layfield &
 5
     Barrett. On August 7, 2016, L&B executed an Amended and Restated Master Loan and
 6

 7   Security Agreement in favor of Advocate (the "Amended and Restated Loan

 8   Agreement"). (See Wellgen Proof of Claim, No. 222). The Amended and Restated Loan

 9   Agreement constitutes an amendment and restatement of numerous prior loan agreements
10   substantially in the same form (the "Prior Loan Agreements", and together with the
11
     Amended and Restated Loan Agreement, collectively, the "Loan Agreement"). (Id.) As
12
     of the Petition Date, the amount outstanding under the Loan Agreement was
13
     $4,087,390.52. (Id.).
14

15          Under the Loan Agreement, L&B granted Advocate a continuing security interest

16   in various collateral including, but not limited to, the following (the "Collateral"):

17                  All accounts, instruments, chattel paper, general
                    intangibles, payment intangibles (all as defined in Article
18
                    9 of the Code), and all similar rights that Borrower may
19                  have of every nature and kind, including specifically and
                    without limitation, all of Borrower's rights to receive
20                  payment or otherwise, for legal and other services rendered
                    and to be rendered, and for costs and expenses advanced
21                  and to be advanced, and all other rights and interest that
                    Borrower may have in and with respect to each and every
22
                    Client Matter.
23
     (Wellgen Proof of Claim, No. 222). The Collateral includes, but is not limited to, any
24
     and all amounts that are now, or in the future, owed to L&B including, but not limited to,
25
     any and all legal fees due L&B, as well as any and all reimbursements due L&B for any
26

27   costs and expenses advanced by L&B arising out of any lawsuits. (Id.) Advocate

28   perfected the security interest granted under the Loan Agreement by filing a UCC

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     financing statement with the office of the Secretary of State for the State of California on
 1

 2   August 14, 2013. (Id.)

 3          Subsequent to the filing of this case, Advocate assigned the Loan Agreement and

 4   its claim against L&B to Wellgen. Wellgen is Advocate's parent company. (See Wellgen
 5
     Proof of Claim, No. 222).
 6
            On August 3, 2017, an involuntary petition was filed against L&B in this Court.
 7
     The petitioning creditors filed an Emergency Motion for Appointment of an Interim
 8
     Trustee Under 11 U.S.C. § 303(g) and Granting Emergency Relief (Docket No. 3). The
 9

10   Trustee's Motion alleged that Mr. Philip Layfield ("Mr. Layfield"), who claimed to be

11   L&B's sole shareholder, had stolen client funds and fled to Costa Rica. (Id.)
12          In response to the Trustee's Motion, L&B filed a Motion to Convert Case Under
13
     11 U.S.C. §§ 706(a) or 1112(a) on August 8, 2017 (Docket No. 19) (the "Conversion
14
     Motion"), seeking to convert the Case to one under Chapter 11 of the Bankruptcy Code.
15
     Mr. Layfield filed a Declaration in support of the Motion to Convert testifying that
16

17   Advocate's Collateral was more than sufficient to pay Advocate in full. (See Docket No.

18   18 ¶¶ 40-44.) According to Mr. Layfield, L&B had a case portfolio that would generate

19   more than $6,000,000 in legal fees and approximately $2,000,000 in expense
20   reimbursements. (Id.) This Court entered orders granting the Conversion Motion
21
     (Docket No. 25), and denying the Trustee's Motion, (Docket No. 24).
22
            On August 16, 2017, Advocate, L&B and the petitioning creditors entered into a
23
     Stipulation for the Appointment of a Chapter 11 Trustee (Docket No. 38), which the Court
24

25   approved by order on August 17, 2017 (Docket No. 42). On August 21, 2017, the United

26   States Trustee (the "UST") filed its Notice of Appointment of Chapter 11 Trustee,

27   appointing Richard M. Pachulski as Chapter 11 Trustee in the Case (Docket No. 51).
28
     Also on August 21, 2017, the UST filed an Application for Order Approving
                                                  2
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     Appointment of Chapter 11 Trustee (Docket No. 53), which application was granted by
 1

 2   the Court's order entered the following day (Docket No. 56). On August 28, 2017, the

 3   Trustee filed his Notice of Acceptance accepting the appointment as Trustee. (Docket

 4   No. 63).
 5
            On August 29, 2017, the Trustee filed his Application to Employ Pachulski Stang
 6
     Ziehl & Jones (the "Trustee's Firm") as bankruptcy counsel (Docket No. 64), and, on
 7
     September 5, 2017, this Court entered its order approving that Application (Docket No.
 8
     81).
 9

10          On September 5, 2017, a few days after the Trustee accepted his appointment as

11   Trustee, the Trustee filed his Emergency Motion for Order (i) Authorizing Trustee to
12   Implement Client Transition Protocol and (ii) Approving Compromise of Quantum
13
     Meruit Claims (the "Transition Protocol Motion") seeking this Court's approval of a
14
     protocol to transition L&B's clients to new representation (the "Transition Protocol").
15
     (Docket 74). In the Transition Protocol Motion, the Trustee expressly stated that the
16

17   primary purpose of the Trustee's efforts was to protect L&B's existing clients. (Docket

18   No. 74, at p. 2). According to the Trustee, his "first order of business [was] to determine

19   the identities and contact information of [L&B's] clients" and that "his first priority" was
20   to ensure that "[L&B's] existing clients have continuing legal representation." (Docket
21
     No. 74, at pp. 2 and 4). On September 8, 2017, this Court entered its order approving the
22
     Transition Protocol. (Docket No. 84).
23
            On December 21, 2017, the Trustee filed his Motion for Order Authorizing and
24

25   Approving Procedures for Resolving Estate Fee and Costs Claims (the "Settlement

26   Procedures Motion") seeking authority and approval of procedures for settling L&B's

27   claims for attorney's fees and expense reimbursements from cases that had once been
28
     handled by L&B (the "Settlement Procedures"). (Docket No. 183). L&B's claims for
                                                  3
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     attorney's fees and expense reimbursements from cases that had once been handled by
 1

 2   L&B constitute Wellgen's Collateral. (See Wellgen Proof of Claim No. 222).

 3          On January 16, 2017, this Court entered its order approving the Settlement

 4   Procedures. (Docket No. 204). Since that time, Advocate and Wellgen have cooperated
 5
     with the Trustee in connection with various settlements as provided for in the Settlement
 6
     Procedures.
 7
            Subsequent to the Trustee's appointment, the Trustee's Firm repeatedly contacted
 8
     Advocate's counsel asking for Advocate to consent to payment of the Trustee's fees and
 9

10   expenses from Advocate's Collateral. (Declaration of Roger G. Jones ¶ 3). Each time,

11   Advocate's counsel stated that Advocate could not agree to a blank check and asked the
12   Trustee's counsel to submit a proposed budget of the expenses to be incurred and a
13
     description of the work to be performed. Each time, the Trustee's counsel agreed to
14
     provide a budget, but never did so. (Id.)
15
                   II.     THE TRUSTEE'S REQUESTED SURCHARGE
16

17          The Trustee does not seek to recover from Wellgen's Collateral the attorney's fees

18   and expenses that were necessary to the preservation and disposition of Wellgen's

19   Collateral and may have benefitted Wellgen. Instead, the Trustee seeks to recover
20   $704,830.29 (the "Trustee's Expenses"), which is the amount of all the attorney's fees and
21
     expenses of the Trustee's Firm from inception through December 31, 2017.
22
            The Trustee's Expenses are broken into two (2) tranches. The first tranche is in
23
     the aggregate amount of $661,983.29, which is comprised of $628,717.50 in attorney's
24

25   fees and $33,265.79 in expenses. The Trustee categorizes the $628,717.50 in attorney's

26   fees as follows:

27

28

                                                 4
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              Summary of Services
 1

 2            Description                                   Hours                 Amount

 3            Asset Analysis/Recovery[B120]                 595.10           $381,638.00

 4            Asset Disposition [B130]                         1.0                $750.00
              Bankruptcy Litigation [L430]                   56.50             $47,293.00
 5
              Case Administration [B110]                    151.40             $81,825.00
 6
              Claims Admin/Objections [B310]                 24.10             $12,085.00
 7            Executory Contracts [B185]                      5.70              $3,195.00
 8            Financial Filings [B110]                        4.40              $1,927.50

 9            Financing [B230]                               16.60             $14,220.00
              Litigation (Non-Bankruptcy)                     1.70                $635.00
10
              Meeting of Creditors [B150]                     1.40              $1,050.00
11
              Operations [B210]                             104.50             $69,518.00
12            Retention of Prof. [B160]                       9.10              $4,425.00
13            Ret. of Prof./Other                             0.60                $517.50

14            Stay Litigation [B140]                         14.40              $9,638.50
                                                Total       986.50           $628,717.50
15

16
     (Trustee's Motion, Ex. A, p. 1.) The second tranche is in the amount of $42,847.00 in
17
     attorney's fees that are not categorized like the attorney's fees in the first tranche.
18
             The Trustee makes no effort to identify or establish the amount of expenses that
19
     he claims were necessary for the preservation of Wellgen's Collateral or any benefit to
20

21   Wellgen.

22                                       III.      ARGUMENT
23           A.      The Trustee's Recovery of a Surcharge Under 11 U.S.C. § 506(c)
                     Requires the Filing of an Adversary Proceeding.
24

25           While Wellgen recognizes that various courts have considered motions for the

26   recovery of a surcharge under Section 506(c) without addressing whether an adversary

27   proceeding is required, Wellgen submits that Rule 7001(1) of the Federal Rules of
28
     Bankruptcy Procedure requires that the Trustee file an adversary proceeding. Rule
                                                        5
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     7001(1) mandates that proceedings "to recover money or property" are adversary
 1

 2   proceedings. As the Bankruptcy Court in In re Blaisure, 150 B.R. 343 (Bankr. M.D. Pa.

 3   1992), explained:

 4                    … if we were to delve into the area of Section 506 of the
                      Bankruptcy Code, we must first conclude that PFA is
 5
                      trying to "recover from property securing an allowed
 6                    secured claim the reasonable, necessary costs and expenses
                      of preserving, or disposing of such property ..." 11 U.S.C.
 7                    § 506(c). If an attempt is made to recover money or
                      property, the Rules of Part VII of the Federal Rules of
 8                    Bankruptcy Procedure must be implemented.
 9   (Id. at 344) (emphasis added); see also In re Schlotzky's Inc., 2004 WL 3244254, ¶ 16
10
     (W.D. Tex. 2004) ("Any effort under § 506(c) of the Bankruptcy Code to surcharge a
11
     secured creditor's collateral is 'a proceeding to recover money or property' within the
12
     meaning of Federal Rule of Bankruptcy Procedure 7001(1) and thus must be brought as
13

14   an adversary proceeding"). Having failed to file an adversary proceeding, the Trustee's

15   Motion must be denied. The Motion is insufficient to afford Wellgen the due process

16   protections to which it is entitled.
17
               B.     The Trustee Does Not Allege that Wellgen Holds an Allowed
18                    Secured Claim as Required Under 11 U.S.C. § 506(c).

19             The Trustee's Motion refers to Wellgen's Collateral as the "putative" collateral

20   and does not allege that Wellgen holds an allowed secured claim. The Trustee seeks to
21   recover a surcharge from Wellgen's Collateral and, at the same time, preserve his ability
22
     to object to the allowance of Wellgen's claim at a later date. Section 506(c) permits
23
     recovery from property "securing an allowed secured claim." The Trustee cannot have it
24
     both ways. The Trustee cannot seek to recover from Wellgen's Collateral today and
25

26   tomorrow object to the allowance of Wellgen's claim. Since the Trustee is unwilling to

27   concede that Wellgen holds an allowed secured claim, the Trustee's Motion must be

28   denied.

                                                  6
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             C.     The Trustee's Motion is Premature.
 1
             The Trustee's Motion is premature because this Court has not yet approved the
 2

 3   Trustee's fee application. Absent this Court's approval of a fee application, the Trustee

 4   cannot establish that the Trustee is entitled to recover any of the Trustee's Expenses. More
 5   importantly, the Trustee may recover sufficient assets from sources other than Wellgen's
 6
     Collateral to pay administrative expenses. The Trustee has filed a fraudulent transfer
 7
     action, (see Pachulski v. Layfield V, LLC, Adv. Pro. No. 2:18-ap-01050-NB), and is
 8
     pursuing recovery of $1,000,000 in potentially preferential transfers, (see Docket No.
 9

10   256).

11           D.     The Trustee Has Failed to Carry His Burden of Proof Under 11
                    U.S.C. § 506(c).
12
             The Trustee seeks to recover from Wellgen's Collateral all the Trustee's Expenses
13
     regardless of whether those fees and expenses were necessary for the preservation of
14

15   Wellgen's Collateral or resulted in any benefit to Wellgen. Section 506(c) does not permit

16   such a recovery. Section 506(c) provides, in relevant part, as follows:
17                  (c) The trustee may recover from property securing an
18                  allowed secured claim the reasonable, necessary costs and
                    expenses of preserving and disposing of, such property to
19                  the extent of any benefit to the holder of such claim ....

20   To succeed on his Motion, the Trustee must satisfy an "onerous burden of proof":

21                  … the party seeking the surcharge must prove that its
                    expenses were reasonable, necessary and provided a
22
                    quantifiable benefit to the secured creditor. In re Cascade
23                  Hydraulics and Utility Service, Inc., 815 F.2d 546, 548 (9th
                    Cir.1987). This is not an easy standard to meet. It is the
24                  party seeking the surcharge that has the burden of
                    showing a "concrete" and "quantifiable" benefit. The §
25                  506 recovery is limited to the amount of the benefit actually
                    proven. Because a party seeking a surcharge faces an
26
                    onerous burden of proof, it is unlikely that creditors will
27                  use this provision when any other provision of the Code is
                    available. Furthermore, because the amount of a
28                  surcharge is limited to the amount of the benefit and must

                                                  7
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                    be proven with specificity, the deserving party is easily
 1                  ascertainable.
 2
     In re Debbie Reynolds Hotel Casino, Inc., 255 F.3d 1061, 1068 (9th Cir. 2001) (emphasis
 3
     added); see also In re Choo, 273 B.R. 608, 611 (BAP 9th Cir. 2002).
 4
             The Trustee's recovery under Section 506 is limited to the amount by which
 5

 6   Wellgen has benefitted from the Trustee's Expenses:

 7                  "To satisfy the benefit test of section 506(c), [the Trustee]
                    must establish in quantifiable terms that it expended funds
 8                  directly to protect and preserve the collateral." The amount
                    of the Banks' benefit limits [the Trustee's] recovery of
 9                  expenses. "A debtor does not satisfy her burden of proof
10                  by suggesting hypothetical benefits."

11   In re Compton Impressions, Ltd., 217 F.3d 1260, 1261 (9th Cir. 2000) (quoting In re

12   Cascade Hydraulics & Utility Serv., Inc., 815 F.2d 546, 548 (9th Cir.1987)).
13          Whether any of the Trustee's Expenses were reasonable and necessary and
14
     resulted in any benefit to Wellgen requires a comparison of the benefits obtained by
15
     Advocate and/or Wellgen and the expenses Advocate and/or Wellgen would have
16
     incurred in foreclosing and disposing of the Collateral:
17

18                  We measure the necessity and reasonableness of the
                    Debtor's incurred expenses against the benefits obtained
19                  for the secured creditor and the amount that the secured
                    creditor would have necessarily incurred through
20                  foreclosure and disposal of the property. The threshold
                    inquiry is whether the services for which a surcharge is
21                  sought were necessary to the secured creditor, here
22                  [Wellgen].

23   Compton Impressions, 217 F.3d at 1260-1261; see also In re Alliance Financial Capital,

24   Inc., 2009 WL 2823261, *2 (Bankr. N.D. Cal. 2009) (necessity and reasonableness of
25   trustee's expenses are measured against the benefits obtained for secured creditor and the
26
     amount the secured creditor would have necessarily incurred through foreclosure and
27
     disposal of the property).
28

                                                 8
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            The Trustee bears the burden of proving the amount of expense Advocate and/or
 1

 2   Wellgen would have incurred in foreclosing and disposing of its Collateral. Choo, 273

 3   B.R. at 613. Absent such proof from the Trustee, any alleged benefit to Advocate and/or

 4   Wellgen is purely "hypothetical." (Id.)
 5
            The Trustee's Motion categorizes only $382,388.00 of the Trustee's Expenses as
 6
     being related to Asset Analysis/Recovery and Asset Disposition. (Trustee's Motion, Ex.
 7
     A, p. 2). The remainder of the Trustee's Expenses fall into the categories of Case
 8
     Administration, Claims Administration, Operations, Retention of Professionals,
 9

10   Financing, Executory Contracts, Meeting of Creditors and Litigation unrelated to

11   Wellgen's Collateral.      (Id.)    Expenses such as Case Administration, Claims
12   Administration, Operations, Retention of Professionals, Financing, Executory Contracts,
13
     Meeting of Creditors and Litigation are unrelated to Wellgen's Collateral. Thus, these
14
     expenses are the responsibility of the bankruptcy estate and cannot be recovered from
15
     Wellgen's Collateral.
16

17          Courts have long recognized that Trustee cannot use Section 506(c) to recover

18   "administrative expenses normally the responsibility of the debtor's estate."    In re

19   Cascade Hydraulics and Utility Service, Inc. 815 F.2d 546, 548 (9th Cir. 1987).
20   "Administrative expenses or the general costs of reorganization may not be generally
21
     charged against secured collateral." (Id.) Payment of administrative expenses from a
22
     secured creditor's collateral is permissible only where the expenses "were incurred
23
     primarily for the benefit of the secured creditor." (Id.)
24

25          $382,388.00 of the Trustee's Expenses fall into the categories of Asset

26   Analysis/Recovery and Asset Disposition. These expenses were not incurred primarily

27   for Advocate and/or Wellgen's benefit; instead, they were incurred primarily for the
28
     benefit of L&B's existing clients. Although the exact amount is unclear, much of the
                                                  9
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     $382,388.00 was incurred in connection with the Transition Protocol Motion and the
 1

 2   implementation of the Transition Protocol. As the Trustee represented to this Court in

 3   the Transition Protocol Motion, the expenses incurred by the Trustee in connection with

 4   the Transition Protocol were incurred primarily for the benefit of L&B's existing clients
 5
     and not Advocate and/or Wellgen.
 6
            The Trustee bears the burden of proving the expenses that Advocate and/or
 7
     Wellgen would have incurred in realizing on the Collateral. The Trustee has offered no
 8
     such proof, and the Trustee cannot carry that burden. Indeed, if Advocate had obtained
 9

10   relief from the automatic stay (rather than stipulating to the appointment of a Chapter 11

11   trustee), Advocate would have had no duty or ability, and would not have incurred the
12   expense, to identify L&B's existing clients and transition those clients to new
13
     representation.   Instead, Wellgen would have used information that it had already
14
     received from L&B regarding its cases and publicly available information to identify
15
     L&B cases that offered a significant likelihood of a substantial recovery. Thereafter,
16

17   pursuant to 9-607 of the Uniform Commercial Code, Wellgen would have asserted a lien

18   on any recovery in those cases for any quantum meruit fee and expense reimbursements

19   to which L&B might been entitled. The Trustee's suggestion that Advocate would have
20   endeavored to identify and transition all L&B's existing clients to new counsel and,
21
     therefore, would have incurred the same expenses as the Trustee is illogical. Absent proof
22
     from the Trustee of the amount Advocate would have incurred in realizing on its
23
     Collateral, any alleged benefit to Wellgen is purely "hypothetical." Choo, 273 B.R. at
24

25   613.

26          Even if the Trustee was able to establish that some portion of the $382,388.00 in

27   Trustee's Expenses was reasonable and necessary for the preservation of the Collateral,
28
     which he has not, the Trustee's Motion does not identify any benefit to Advocate or
                                                10
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     Wellgen. This makes sense as neither Advocate nor Wellgen has received any benefit
 1

 2   from the Trustee's Expenses. The Trustee's recovery under Section 506 is limited to the

 3   amount by which Advocate and/or Wellgen has benefitted from the Trustee's Expenses.

 4   Compton Impressions, 217 F.3d at 1261. To date, neither Advocate nor Wellgen has
 5
     received any benefit whatsoever. The Trustee has made no distribution to Advocate or
 6
     Wellgen.
 7
             E.      Neither Wellgen Nor Advocate Consented to the Surcharge of its
 8                   Collateral.
 9           The Trustee argues that, although Advocate did not expressly consent to the
10
     surcharge of its Collateral, Advocate "impliedly consented" to the surcharge by entering
11
     into the stipulation for the appointment of the Trustee and cooperating with the Trustee
12
     in connection with the Transition Protocol and the Settlement Procedures.
13

14           Although Section 506(c) makes no reference to the implied consent of the secured

15   creditor, the Trustee relies on cases holding that a surcharge may be imposed where the

16   secured creditor "impliedly consents" to the expenses. This is a misapplication of 506(c)
17
     and controverts the “plain meaning” approach articulated by the Supreme Court. United
18
     States v. Ron Pair Enterprises, 489 U.S. 235, 109 S.Ct. 1026, 103 L.Ed.2d 290 (1989)
19
     ("The plain meaning of legislation should be conclusive, except in the rare cases [in
20
     which] the literal application of a statute will produce a result demonstrably at odds with
21

22   the intentions of its drafters.")

23           The literal application of Section 506(c) does not "produce a result demonstrably
24   at odds with the intentions of its drafters." Id. Indeed, just the opposite is true here.
25
     Section 506(c)'s legislative history evidences Congress' express intent to limit recovery
26
     under Section 506(c) to the reasonable and necessary costs of preserving the collateral
27
     and to limit the recovery "to the extent of any benefit" to the secured creditor. H.R. Rep.
28
     No. 595, 95th Cong., 1st Sess. 357 (1977); S. Rep. No. 989, 95th Cong. 2d Sess. 68 (1978).
                                                 11
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     Permitting the Trustee to recover expenses that were not necessary or reasonable and that
 1

 2   did not benefit Advocate and/or Wellgen is demonstrably at odds with the unambiguous

 3   language of Section 506(c) and its legislative history.

 4           The decisions allowing recovery from the secured creditor's collateral based on
 5
     "implied consent" without regard to the necessity and reasonableness of the expense and
 6
     benefit derived by the secured creditor are no different from those decisions that adopted
 7
     the so-called Fobian rule as a limitation on the allowance of attorney's fees under 11
 8
     U.S.C. § 502(b)(1). Relying on the "plain meaning" approach, the Supreme Court, in
 9

10   Travelers Cas. and Sur. Co. of America v. Pacific Gas and Elec. Co., 549 U.S. 443, 127

11   S.Ct. 1199, 167 L.Ed.2d 178 (2007), rejected the so-called Fobian rule holding that the
12   absence of any "textual support" in Section 502(b)(1) "fatal for the Fobian rule." 549
13
     U.S. at 452, 127 S.Ct. at 1206. Just like the so-called Fobian rule, the absence of any
14
     textual support in Section 506(c) is fatal to the "implied consent" rule.1
15
             To the extent the "implied consent" rule remains viable, neither Advocate nor
16

17   Wellgen "impliedly" consented to the Trustee's Expenses.                    After the Trustee was

18   appointed, his counsel repeatedly contacted Advocate's counsel seeking Advocate's

19   consent to payment of the Trustee's fees and expenses from Advocate's Collateral. As
20   was set forth above, Advocate’s counsel repeatedly declined to consent to the request
21
     absent a proposed budget of the expenses to be incurred and a description of the work to
22
     be performed. No such budget was ever provided to Advocate. The fact that Advocate
23

24
     1
       In re GTI Capital Holdings, L.L.C., 2007 WL 7532277, *14 (BAP 9th Cir. 2007), the 9th Cir. Bankruptcy
25   Appellate Panel recognized that consent may no longer be a viable basis for the imposition of a surcharge
     under Section 506(c) in light of the Supreme Court's decision in Hartford Underwriters Ins. Co. v. Union
26   Planters Bank N.A., 530 U.S. 1, 120 S.Ct. 1942, 147 L.Ed.2d 1 (2000). "As discussed earlier, Hartford
     Underwriters held that only a trustee or debtor-in-possession, and not an administrative claimant, has
27   standing to pursue a surcharge. The Supreme Court in that case emphasized that the language of § 506(c)
     is plain and unambiguous. Since § 506(c) does not include reference to a "consent" standard …."
28

                                                        12
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     expressly declined to consent to payment of the Trustee's Expenses from its Collateral
 1

 2   absent an agreed upon budget is fatal to the Trustee's argument that Advocate "impliedly

 3   consented."

 4          Additionally, as is explained in the Trustee's Motion, the Trustee requested, and
 5
     Advocate consented, to payment of the costs of mailing the bar date notice to creditors
 6
     and the minimum requisite quarterly U.S. Trustee's fees from the Collateral. The Trustee
 7
     knew that Advocate had not consented to payment of all the Trustee's Expenses.
 8
     Otherwise, the Trustee would not have requested Advocate's consent to pay the mailing
 9

10   costs from its Collateral.

11          The Trustee mistakenly argues that Advocate’s implied consent can be inferred
12   from its entry into the stipulation for the appointment of a trustee, and the fact it did not
13
     seek relief from the automatic stay with respect to the Collateral. Neither Section 506(c)
14
     nor any other provision of the Bankruptcy Code suggests that where a secured creditor
15
     seeks the appointment of a Chapter 11 Trustee, the secured creditor's collateral is subject
16

17   to surcharge for all the Chapter 11 trustee's expenses. Had that been Congress' intent, it

18   could have easily included such a provision in Section 506(c). It did not.

19          The Trustee reliance on the decisions in In re Bob Grissett Golf Shoppes, Inc., 50
20   B.R. 598 (Bankr. E.D. Va. 1985), and In re Hotel Associates, Inc., 6 B.R. 1980 (E.D. Pa.
21
     1980), is misplaced. Neither Bob Grissett nor Hotel Associates holds that a secured
22
     creditor's support for the appointment of a Chapter 11 trustee constitutes grounds to
23
     recover all the Chapter 11 trustee's expenses from the secured creditor's collateral.
24

25   Instead, in Bob Grissett, the Bankruptcy Court awarded the trustee only a $3,000.00

26   statutory commission under 11 U.S.C. § 326 for selling encumbered property and rejected

27   the trustee's remaining claims because there was no benefit to the secured creditor.
28
     Similarly, in Hotel Associates, the Bankruptcy Court held that, despite the fact that the
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     creditor moved for the appointment of a Chapter 11 trustee and did not seek relief from
 1

 2   the automatic stay, the trustee could still only recover those expenses that were necessary

 3   to the preservation of the secured creditor's collateral.

 4          The Trustee relies on dicta in Bob Grissett and Hotel Associates for the
 5
     proposition that the secured creditor's consent may be implied where the secured creditor
 6
     knew or had reason to that the debtor had no assets beyond the secured creditor's collateral
 7
     and, rather than moving for relief from the automatic stay, moved for the appointment of
 8
     a Chapter 11 trustee. (Trustee's Motion at p. 10.) However, the Trustee offers no
 9

10   evidence that, at the time Advocate entered into the stipulation for the appointment of a

11   Chapter 11 trustee, it knew or should have known that L&B had no assets other than
12   Advocate's Collateral or that Advocate knew or should have known there was no equity
13
     in its Collateral. At the time, Advocate entered into the stipulation, Advocate had no
14
     knowledge of the value of its Collateral other than the information provided by Mr.
15
     Layfield showing that there was substantial equity in the Collateral. (See Docket No. 18.)
16

17   Advocate had no factual basis to allege there was no equity in the Collateral and no legal

18   basis to seek relief from the automatic stay.

19          Bankruptcy courts that have squarely addressed the issue have rejected the
20   Trustee's argument that a secured creditor's support for the appointment of a Chapter 11
21
     trustee constitutes grounds to recover all the Chapter 11 trustee's expenses from the
22
     secured creditor's collateral. In CIT Corp. v. A & A Printing, Inc., 70 B.R. 878 (Bankr.
23
     M.D. N.C. 1987), the Bankruptcy Court explained:
24

25                  The trustee relies chiefly on [the Bob Grissett decision] for
                    the proposition that Section 506(c) permits allocating costs
26                  of administration to secured creditors to the extent of
                    "rough justice." That case discusses much of the case law
27                  treated here, and at one point acknowledges that
28                          [t]he fact that the estate has no unencumbered
                            assets from which to pay administrative expenses
                                                14
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                           does not obligate a secured creditor to fund these
 1                         expenses. The secured creditor, unless he consents,
 2                         'cannot be compelled to finance a chapter 11
                           proceeding except to the limited extent provided for
 3                         in section 506(c).'

 4                 (Id. at 604.) Yet, two paragraphs later, the bankruptcy
                   court turns 180 degrees and quotes a pre-Code case for the
 5                 argument that "[w]here ... there are no unencumbered
 6                 assets available to fund administrative expenses, the court
                   should 'balance the misfortune of having some allowances
 7                 go unpaid against the possible inequity of charging them
                   all against mortgaged property.'" The same pre-Code case
 8                 is relied on earlier for the statement: "The courts have
                   discretion to determine when and how much recovery shall
 9                 be allowed from a secured party."
10
                   Whatever latitude courts may have had to tax secured
11                 creditors under case law before enactment of the
                   Bankruptcy Code is now dramatically circumscribed by
12                 Section 506(c). Rather than permitting the balancing of
                   vague hardships, that section sets forth objective criteria
13                 which must be met before secured parties are made to
                   cough up funds. To the extent that the holding of Bob
14
                   Grissett Golf Shoppes deviates from these criteria, the
15                 court disagrees with it here.

16   (Id. at 881-882) (emphasis added).

17          Further, the Bankruptcy Court in In re Orfa Corp. of Philadelphia, 149 B.R. 790
18   (Bankr. E.D. Pa. 1993), rev'd on other grounds, 170 B.R. 257 (E.D. Pa. 1994), explained:
19
                   We cannot accept the Trustee's argument that, once [the
20                 secured creditor] supported his appointment, it was bound
                   to compensate him for every service reasonably performed
21                 by him, irrespective of the benefit attained by [the secured
                   creditor] as a result of these services, and irrespective of
22                 the obvious disapproval of those services by the [secured
23                 creditor]. If the Trustee could prove a benefit to [the
                   secured creditor] in the macro-economic sense, as the
24                 result of his actions, then we believe that payment from [the
                   secured creditor] for all services would be mandated.
25                 However, if the Trustee is unable to shoulder this burden
                   on this issue, as it appears is the case here, then the [the
26                 Trustee has] failed the "objective test." An "implied
27                 consent," flowing from the mere act of supporting the
                   Trustee's appointment, appears to be too weak a fulfillment
28                 of the "subjective test" in itself to allow the Trustee to
                   prevail against [the secured creditor] under § 506(c).
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     (Id. at 799) (internal citations omitted). Although the Bankruptcy Court's decision in Orfa
 1

 2   Corp. was later reversed by the District Court, the District Court expressly approved this

 3   portion of the Bankruptcy Court's decision. 170 B.R. at 273 (Bankruptcy Court did not

 4   err in holding that support for appointment of trustee did not constitute implied consent
 5
     to surcharge under Section 506(c)).
 6
            The Bankruptcy Court in Orfa Corp. distinguished the decisions in Bob Grissett
 7
     and Hotel Associates:
 8
                    The Trustee also argues that claims similar to those made
 9
                    by him here, i.e., that a secured creditor who sought
10                  appointment of a trustee must foot the bill for all of the
                    trustee's administrative expenses, were successful in the
11                  two most analogous cases, Bob Grissett, supra; and Hotel
                    Associates, supra. However, the Trustee in Bob Grissett
12                  succeeded only in establishing his right to recover a $3,000
                    statutory commission for selling encumbered property.
13
                    The Hotel Associates court awarded nothing to the Trustee,
14                  pending his proof that he actually did preserve the
                    encumbered property.
15
     149 B.R. at 800.
16
            Finally, the Bankruptcy Court in In re H&R Properties, 1991 WL 242160 (Bankr.
17

18   N.D. Ill. 1991), explained:

19                  Where the secured creditor expressly or by its actions
                    consents to the services and payment for those services out
20                  of the collateral, it cannot avoid making such payment on
                    the grounds that it received no actual benefit. Such consent
21                  will not be easily implied in the absence of express consent.
22                  In this case, clearly there has been no express consent. The
                    City argues, however, that the Bank consented to and
23                  caused the operating expenses when it sought the
                    appointment of a trustee, and failed to move for dismissal,
24                  conversion or a modification of the automatic stay to
                    allow foreclosure. The Court rejects these arguments as
25                  a matter of law. It is well-settled that creditor cooperation
26                  in the reorganization effort, including post-petition
                    financing, is not the same as a consent to finance the costs
27                  of the reorganization case, and that failure to move for a
                    modification of the automatic stay or for adequate
28                  protection does not constitute consent to § 506(c) charges.

                                                 16
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     1991 WL 242160, *4 (emphasis added).
 1

 2          The Trustee also mistakenly argues that Advocate consented to the payment of

 3   the Trustee's Expenses by cooperating with the Trustee in connection with Transition

 4   Protocol and the Settlement Procedures.          Courts have uniformly held that secured
 5
     creditors will not be found to have impliedly consented to the surcharge of its collateral
 6
     because it acquiesces in the liquidation of its collateral or does not seek relief from the
 7
     automatic stay:
 8
                    The payment of administrative expenses from the proceeds
 9
                    of secured collateral is allowed when those expenses are
10                  incurred primarily for the benefit of the secured creditor or
                    when the secured creditor caused or consented to the
11                  expense. Consent may be found to have been impliedly
                    given if the creditor "has caused the additional expense."
12                  On the other hand, it is improper to imply consent to the
                    recovery of expenses under Section 506(c) from (i) the
13
                    mere acquiescence by a secured creditor with respect to an
14                  attempt to reorganize under Chapter 11 or with the respect
                    to the liquidation of its collateral in a case, (ii) the creditor's
15                  mere failure to object to a proposed liquidation, or (iii) the
                    creditor's mere failure to move to lift the automatic stay or
16                  take similar action.
17
     In re Cass, 2015 WL 2194796, *15 (C.D. Cal. 2015) (quoting Cascade Hydraulics &
18
     Utility Service, 815 F.2d at 548) (internal citations omitted); see also Compton
19
     Impressions, 217 F.3d at 1261–1262. Advocate's acquiescence and cooperation with the
20
     Trustee does not constitute implied consent. (Id.)
21

22          It should further be noted that the Trustee should not be permitted to recover

23   expenses that could have been avoided by abandoning the Collateral. In re Chicago
24   Lutheran Hosp. Ass’n, 89 B.R. 719, 726–27 (Bankr.N.D.Ill.1988) (citing In re Trim–X,
25
     Inc., 695 F.2d 296, 301 (7th Cir.1982)). The Trustee's arguments ignore that the Trustee,
26
     not Advocate, had superior access to information regarding the Collateral and its value.
27
     The Trustee could have abandoned the Collateral at any time, but the Trustee chose not
28

                                                    17
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     to do so even though Advocate had repeatedly told the Trustee it would not consent to
 1

 2   payment of the Trustee's expenses from the Collateral absent an agreed upon budget.

 3                                     IV.     CONCLUSION

 4           For the reasons stated above, Wellgen respectfully requests that this Court deny
 5
     the Trustee's Motion in its entirety and grant such further relief as it deems just and proper.
 6

 7
             Dated: March 26, 2018
 8
                                             LOBEL WEILAND GOLDEN FRIEDMAN LLP
 9

10                                           By: /S/ JEFFREY GOLDEN
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

                                  650 Town Center Drive, Suite 950, Costa Mesa, California 92626

A true and correct copy of the foregoing document entitled (specify): OBJECTION TO TRUSTEE’S MOTION TO
SURCHARGE CREDITOR’S COLLATERAL; DECLARATION OF ROGER G. JONES IN SUPPORT THEREOF will be
served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the
manner indicated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
March 26, 2018, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:




                                                                                  X Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) March 26, 2018, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge
will be completed no later than 24 hours after the document is filed.




                                                                                  X Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) March 26, 2018, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such
service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that
personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.


The Honorable Neil Bason, 255 E. Temple Street, Los Angeles, CA 90012


                                                                                      Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.




      March 26, 2018                               Kelly Adele
          Date                                    Printed Name                                                         Signature

            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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